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                EXHIBIT 2
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From:            Trefz, Katherine
To:              Eric_Kosmo@caspt.uscourts.gov; Anthony_Granados@canpt.uscourts.gov
Subject:         US v. Holmes - Automatic Stay of Reporting to BOP
Date:            Wednesday, April 26, 2023 8:49:58 AM
Attachments:     Holmes CA9 Motion for Release Pending Appeal.pdf
                 22-10312 USA v. Elizabeth Holmes Motion for any Type of Relief (Other than Reconsideration or to
                 Seal).msg.msg


Mr. Granados and Mr. Kosmo,

I am writing to inform you that my client, Elizabeth Holmes, filed her motion for release pending
appeal yesterday evening. The motion and confirmation of filing are attached. Under Ninth Circuit
Rule 9-1.2(e), Ms. Holmes’ reporting date is automatically stayed and her bail “will remain in effect
until the Court rules on the motion.” See United States v. Fuentes, 946 F.2d 621, 622 (9th Cir. 1991)
(“The operation of the rule” is “automatic.”); accord United States v. Kakkar, No. 5:13-cr-00736-EJD,
2017 WL 4163291, at *1 (N.D. Cal. Sept. 20, 2017). Consequently, Ms. Holmes is not required to
report to the Bureau of Prisons this Thursday.

Please let me know if you have any questions.

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